Case 1:14-cv-00217-HG-RLP Document 386 Filed 12/08/16 Page 1 of 1   PageID #: 7608

                              MINUTE ORDER

   CASE NUMBER:         Civ. No. 14-00217 HG-KSC
   CASE NAME:           Cara Barber; Melissa Jones; Melissa
                        Streeter; Katie Eckroth; Bob Barber; Tim
                        Jones; Ryan Eckroth v. Ohana Military
                        Communities, LLC; Forest City Residential
                        Management, Inc.
   ATTYS FOR PLA:       Patrick Kyle Smith, Esquire
                        Terrance Revere, Esquire
                        Malia R. Nickison-Beazley, Esquire
                        Sergio Salzano, Esquire
   ATTYS FOR            Randall C. Whattoff, Esquire
   DEFT:                Lisa W. Munger, Esquire
                        Christine A. Terada, Esquire


        JUDGE:      Helen Gillmor

        DATE:       December 8, 2016


  COURT ACTION:

        On December 7, 2016, Defendants filed:

        DEFENDANTS OHANA MILITARY COMMUNITIES, LLC AND
        FOREST CITY RESIDENTIAL MANAGEMENT, LLC’S EX PARTE
        APPLICATION FOR LEAVE TO FILE UNDER SEAL:

        (1) THEIR EX PARTE APPLICATION TO UNSEAL A PORTION
            OF THE TRANSCRIPT OF THE AUGUST 15, 2016
            EVIDENTIARY HEARING,

        (2) THE DECLARATION OF RANDALL C. WHATTOFF
            THERETO, AND

        (3) EXHIBITS A-F THERETO.
        (ECF No. 385).

       Defendants’ Application for Leave to File Under Seal
  (ECF No. 385) is GRANTED.



  Submitted by: Leslie Sai, Courtroom Manager

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